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                               UNITED STATES DISTRICT COURT
    9
                              CENTRAL DISTRICT OF CALIFORNIA
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   12   KEVIN LEE FRANCOIS,                     No: SACV 12-988-GW-PJWx
   13                                           Hon. George H. Wu
                 Plaintiff,
   14                                           JUDGMENT ON JURY
                                                VERDICT
   15       v.
   16
   17   OFFICER TROY ZEEMAN, et al.,

   18            Defendants.
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                                 JUDGMENT ON JURY VERDICT
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    1        This action came on regularly for jury trial on June 1, 2022 in Courtroom 9D
    2 of the United States District Court for the Central District of California. Plaintiff
    3 Kevin Lee Francois was self represented. Defendants Troy Zeeman and Marie
    4 Gamble were represented by Allen Christiansen, Esq. of Ferguson, Praet &
    5 Sherman, APC.
    6        A jury of eight persons was regularly empaneled and sworn. Witnesses were
    7 sworn and testified. After hearing the evidence and arguments of plaintiff and
    8 counsel the jury was duly instructed by the Court and the case was submitted to the
    9 jury. The jury deliberated and thereafter returned a verdict on June 3, 2022 as
   10 follows:
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   12                                      QUESTION #1
   13        Did Plaintiff prove, by a preponderance of the evidence, that Troy Zeeman
   14 used unreasonable force against Kevin Lee Francois?
   15
   16                                 YES _____ NO __X__
   17
   18        If you answered NO as to Question 1, skip to Question 4, do not answer
   19 Questions 2 or 3.
   20
   21                                      QUESTION #4
   22        Did Plaintiff prove, by a preponderance of the evidence, that Marie Gamble
   23 used unreasonable force against Kevin Lee Francois?
   24
   25                                 YES _____ NO __X__
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                                JUDGMENT ON JURY VERDICT
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    1        Now, therefore, pursuant to Rules 54 and 58 of the Federal Rules of Civil
    2 Procedure, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
    3 final judgment in this action be entered as follows:
    4
    5        1. Judgment on all claims is entered in favor of Defendants Troy Zeeman and
    6           Marie Gamble and against Plaintiff Kevin Lee Francois;
    7        2. Plaintiff Kevin Lee Francois shall take nothing by his Complaint;
    8        3. Defendants shall recover costs of suit in favor of Defendants Troy Zeeman
    9           and Marie Gamble and against Plaintiff Kevin Lee Francois.
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   12 Dated: June 7, 2022                            _______________________
   13                                                Hon. George H. Wu
   14                                                United States District Judge
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                               JUDGMENT ON JURY VERDICT
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